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                                                       U.S. Department of Justice

                                                       CHANNING D. PHILLIPS
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    September 24, 2021

Richard S. Stern
Attorney at Law
932 Hungerford Drive #37A
Rockville, MD 20850

       Re:      United States v. Michael Eckerman
                Case No. 21-mj-602-RMM

Dear Counsel:

       This is to memorialize the following discovery 1 and 2 provided September 21 (via
email) and September 24, 2021 (via USAFX):

Provided September 21, 2021 via email:
       Complaint, SOF, Penalty sheet and links local news stories and Twitter.

Provided September 24, 2021 via USAfx:
       USCP OPR reports
       Link to obituary of Ben Mires

       Search warrant, application and affidavit for premises and devices (all redacted) and the
return with M & O to unseal

       Serial 1 Case opening
       1A-02 criminal history and DL photo
       1A_03 Comprehensive Report

       Serial 3 is 302 re TTK review and Public tip.
       1A_01 is tip – pix of D. in front of GW portrait.

       Serial 4 - 302 about defendant’s attorney calling Agent.

       Serial 5 – Contact with Eckerman.
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       1A_02 is physical written notes of contact
       1A_03 DL print out

       Serial 6- 302 – May 4, 2021 Agent called defendant’s attorney.

       Serial 7 – 302 check of KS DOL for employment.
       1A _01 DOL printout

       Serial 8 – 302 re locating the tipster’s picture of defendant in the Capitol in the Rayburn
Reception room by GW portrait
       1A_01 to 1A_03: opensource pictures of Rayburn Reception room

       Serial 9 – 302 documenting and describing hits from facial recognition
       1A_01 and _03: opensource picture Rayburn Reception room
       1A_02: FB picture
       1A_04: pix of def in front of GW portrait

       Serial 10 - 302 of ID assistance from Architect of Capitol

       Serial 11 - 302 requesting CCTV

       Serial 12 - 302 of help from WFO

       Serial 14 - 302 documenting receiving Copies of Capitol footage

       Serial 15 – 302 of receiving the disk from WFO with video

       Serial 17 – 302 of USCP sending disk with CCTV to SA

       Serial 19 - 302 of receiving link to download the axon BWC footage.

       Serial 20 – 302 re 2 disks to put into evidence

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.


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       Additional materials will be provided when a Protective Order has been entered.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.



                                                     Sincerely,

                                                     /s/ Mona Lee M. Furst
                                                     Mona Lee M. Furst
                                                     Assistant United States Attorney



Enclosure(s)




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